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 5
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 6
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                    )    Case No. CR-19-0381 CRB
                                                   )
                                                   )    DEFENDANT BRAYAN
12                          Plaintiff,             )
                                                   )    MARTINEZ’S SENTENCING
13      vs.                                        )
                                                   )    MEMORANDUM; REQUEST FOR
                                                   )    VARIANCE TO TIME SERVED
14    BRAYAN M ARTINEZ,                            )
                                                   )    SENTENCE
15                                                 )
                                                   )
                                                   )    Date: April 30, 2020
16                     Defendant.                  )
      ________________________________             )    Time: 1:00 p.m.
17                                                      Court: Hon. Charles R. Breyer
18
19
                                         I. INTRODUCTION
20
              In this case, the parties have crafted a Rule 11(c)(1)(A) and 11(c)(1)(B) plea
21
22   agreement that allows the Court to sentence Mr. Martinez to a reasonable sentence under

23   the sentencing factors enumerated in 18 U.S.C. § 3553(a). The defense submits that,
24
     under all the factors that this Court should consider, a downward variance to a time
25
26   served sentence is sufficient to adequately impress upon Mr. Martinez the seriousness of

27
28                                                                                              1
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 1   his conduct, while addressing some of the sentencing objectives of just punishment,
 2
     rehabilitation, and deterrence as listed in U.S.C. § 3553(a). Sentencing will occur on
 3
 4   April 30, 2020. Mr. Martinez will be 20 years old at the time of sentencing. At the time

 5   of sentencing, he will have been in custody for almost nine months since his arrest on
 6
     August 6, 2019 when he was 19 years old.
 7
 8          There is no question that Mr. Martinez committed a very serious offense for

 9   which the law dictates a harsh penalty. The requested time served sentence imposes
10
     severe punishment on a street level drug dealer who has spent almost nine months in
11
12   custody in Santa Rita Jail, the last 2 months living under an ominous cloud of the Covid-

13   19 coronavirus. Moreover, Mr. Martinez will likely not be released from custody but
14
     rather transferred to Immigration custody to address deportation proceedings.
15
16          Under the totality of these circumstances, the requested time served sentence is

17   sufficient to serve the sentencing goals of 18 U.S.C. § 3553(a) and the defense asks that
18
     the Court impose that sentence at the time of sentencing.
19
20                                       II. ARGUMENT
21
            A. Nature of the Offense and History and Characteristics of Mr. Martinez
22
            (I). History and Characteristics of Mr. Martinez
23
24          Mr. Martinez is a citizen of Honduras and was 19 years old at the time of his

25
     arrest. He is currently 20 years old, but standing at 5'2 and weighing 135 pounds, he
26
     looks much younger than that– he looks like any teenager fond of Snapchat and video
27
28
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 1   games. Outside of his activities in this case, he earned money working at restaurants and
 2
     car repair shops.
 3
 4          Mr. Martinez has four brothers and four sisters. His parents could not support

 5   them all in Honduras so Mr. Martinez traveled to the United States when he was 16 years
 6
     old. At the time of his arrest, he was living with his 18 year old wife in Oakland,
 7
     California. They had been together for 2 years and they were raising a 9 month (now 18
 8
 9   month) old son together. After the requested time served sentence, Mr. Martinez will
10
     likely be transferred to Immigration custody to address deportation proceedings. Sadly,
11
     he will likely never see his wife and son in person again. He will not be part of their lives
12
13   and he has accepted the fact that their relationship will be electronic in the form of phone

14   calls, text messages, social media, and FaceTime.
15
            (ii). Nature of the Offense
16
17          Mr. Martinez and Mr. Martinez alone bears the responsibility for his conduct. He

18   committed all the acts noted in his Plea Agreement. At bottom, he was a teenage non-
19
     violent street level drug dealer in the Tenderloin area of San Francisco.
20
21          B. Applicable Purposes of Sentencing (Specific Deterrence and Retribution)

22          Mr. Martinez is severely deterred as a result of his conviction of a serious felony
23
     by being deprived of his family for the last nine months. Moreover, after serving his
24
25   sentence, he will likely be deported and therefore never see his wife and son in person

26   again. Against this backdrop, it is clear that the requested time served sentence has
27
     already and will doubtlessly continue to prevent Mr. Martinez from ever coming into
28
     U.S. v. BRAYAN MARTINEZ, CR 19-0381-CRB; SENTENCING MEMORANDUM; REQUEST FOR
     VARIANCE TO TIME SERVED SENT ENCE                                                            3
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 1   contact with the criminal justice system ever again and presents severe retribution for Mr.
 2
     Martinez’s crimes.
 3
 4          C. The Advisory Sentencing Guidelines

 5
            The defense has agreed that the adjusted offense level is 25 and M r. Martinez’s
 6
 7   Criminal History Category is 2 because of a drug related conviction. This yields an
 8
     advisory guideline range of 63-78 months.
 9
10          D. Avoiding Sentencing Disparity in Treatment of Like Offenders

11
            The following similarly situated street level drug dealer defendants in this and
12
     related case CR-19-367-CRB were sentenced as follows:
13
14          1. Julio Cesar Viera-Chirinos: Time Served on December 18, 2019;
15
            2. Yordi Yavier Agurcia Galindo: Time Served on February 12, 2020;
16
17          3. Jose Franklin Rodriguez Garcia: 12 months and 1 day on March 4, 2020;
18
            4. Gustavo Adolfo Gamez-Velasquez: Time Served on March 11, 2020;
19
20
            5. Rudis Valladeres-Caceres: Time Served on March 11, 2020;
21
22          6. Elvin Mejia-Padilla: Time Served on March 11, 2020; and

23
            7. Rudulio Alexo Garcia: Time Served on March 18, 2020.
24
25          The defense submits that the requested time served sentence will avoid sentencing

26   disparities between similarly situated defendants.
27
     ///
28
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     VARIANCE TO TIME SERVED SENT ENCE                                                         4
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 1                                      IV. CONCLUSION
 2
            For the foregoing reasons, the defense respectfully submits that a sentence of time
 3
 4   served be imposed on Mr. Martinez as sufficient to fulfill the statutory mandate of 18

 5
     U.S.C. § 3553(a).
 6
 7   Date: April 23, 2020                      Respectfully Submitted,
                                               TAMOR & TAMOR
 8
 9                                             __________/s/_________________
                                               RICHARD A. TAMOR, ESQ.
10                                             Attorneys for Defendant,
11                                             BRAYAN M ARTINEZ

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     VARIANCE TO TIME SERVED SENT ENCE                                                        5
